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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ARTHUR J. GALLAGHER & CO.,                            )
                                                      )
               Plaintiff,                             )      Case No.: 1:22-cv-03931
                                                      )
       v.                                             )      Hon. Martha M. Pacold
                                                      )      Hon. Jeffrey Cummings
ALLIANT INSURANCE SERVICES, INC.,                     )
                                                      )
               Defendant.                             )
                                                      )

              JOINT STATUS REPORT REGARDING DISCOVERY AND SETTLEMENT

       Plaintiff, Arthur J. Gallagher & Co. (“Gallagher”), by and through its undersigned

attorneys, and Defendant, Alliant Insurance Services, Inc. (“Alliant”), by and through its

undersigned attorneys, submit this Joint Status Report pursuant to the Court’s August 16, 2022

Order. Dkt. 33.

   1. On September 8, 2022, the Parties reached an agreement in principle to settle this dispute.

       The Parties respectfully request that the Court stay all deadlines in this matter while the

       Parties finalize a resolution in this matter. The Parties respectfully request that the Court

       order a further status report to be filed in 30 days in the event this matter has not yet been

       fully resolved.

   2. Additionally, given that the Court’s August 16, 2022 Order required the Parties to set

       forth what discovery has been completed, what discovery remains, and whether any

       discovery disputes require the Court’s attention, the Parties provide the following

       information:

       a. The Parties issued Expedited Requests for Production, Expedited Interrogatories, and

            Subpoenas for Production of Documents to Third Parties.
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       b. The Parties tendered responses and objections to the Requests for Production.

       c. The Parties agree that, while the Parties work to finalize a settlement, no further

           discovery should be issued, and no responses to previously issued discovery should

           be required.

       d. There are no current discovery disputes.

   3. Should the Parties agreement in principle be unsuccessful, the Parties will meet and

       confer regarding the filing of a status report proposing new dates for all outstanding and

       remaining discovery and deadlines within seven (7) days.

       WHEREFORE the Parties request this Honorable Court to stay all remaining dates,

deadlines, and proceedings until the completion of the anticipated settlement agreement.

                                                    Respectfully submitted,

/s/ Sari Alamuddin                                /s/ Eli Litoff
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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 14, 2022, I filed a copy of the foregoing document
using the Court’s CM/ECF filing system, which will automatically send notice of the filling to all
counsel of record.

                                             /s/ Eli Litoff
